            Case 4:21-cr-00215-BRW Document 55 Filed 10/25/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                       )
                                               )
V.                                             )        CASE NOS.: 4:19-CR-00219-3-BRW
                                               )                   4:21-CR-00215-1-BRW
CHRISTOPHER DAVID HIGGINS                      )


     THIRD MOTION TO MODIFY ORDER GRANTING TEMPORARY RELEASE
       The Defendant, Christopher David Higgins, by and through his counsel, Erin Cassinelli,

states in support of his Second Motion to Modify Order Granting Temporary Release:

       1.       On August 16, 2022, the Court issued Orders authorizing Defendant’s temporary

release from custody on October 12, 2022, for the purpose of undergoing surgery and inpatient

post-operative care at UAMS in Little Rock, Arkansas. See Case No. 4:19-cr-00219-3-BRW at

Doc. # 129, Case No. 4:21-cr-00215-1-BRW at Doc. # 50.

       2.       Defendant was ordered to return to Phillips County Jail by 7:00 pm on October 24,

2022 in response to defendant's Second Motion to Modify Temporary release.

       3.       UAMS Surgeon Dr. Joseph F. Margolick contacted Defense Counsel's office on

October 24, 2022 at 5:15 pm, the same evening defendant was due to return to Phillips County

Jail. Dr. Margolick informed Defense Counsel that defendant would need an additional five days of

recovery time due to his surgical drains not healing as quickly as anticipated. Defense counsel has

contact information for Dr. Margolick, at the request of the court or the government. UAMS may also

be contacted to confirm defendant’s inpatient status.

       4.       Defendant respectfully requests that the Court modify paragraph 4 of its prior orders to

read as follows: “Defendant is to return to his current place of custody no later than 9:00 pm sharp on

Monday, October 31, 2022.”
  Case 4:21-cr-00215-BRW Document 55 Filed 10/25/22 Page 2 of 2




WHEREFORE, the Defendant, Christopher Higgins, asks the Court to grant his motion, and

for any other relief the Court finds appropriate.




                                                    Respectfully Submitted,

                                                           Erin Cassinelli
                                                           ABN 2005118
                                                           erin@lcarklaw.com
                                                           LASSITER & CASSINELLI
                                                           300 S. Spring St., Ste. 800
                                                           Little Rock, AR 72201
                                                           (501) 370-9300
                                                           Attorney for Defendant
